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FAX.' 410-96.7-3124

November 8, 2018

Christop]ier Carlos Nieto

Law Office of Chr.istopher C. Nieto, LLC
231 E. Baltimore Street Suite 1102
Baitimore, MD 2'] 202

Re: United States v. laines blair1 a/k!a Mcok`
cn-minal No. JKB-18-0204 (D, Md_)

 

Dear Counsel:

This ietter, together With the Sealed Su_pplement, confirms the plea agreement (this
“Agreement”) that has been offered to your client, James Hair, a/k/a “Mook” (hereinafter
“Defendaut”), by the United States Attorney’s Oftice for the District of Maryland (“this Office”).
if the Defendant accepts this offer, please have the I)efendant execute it in the spaces provided
below. If this offer has not been accepted by November 23, 2018, it will be deemed withdrawn
The terms of the Agreement are as follows:

Offense of Conviction

]. The Det“endant agrees to plead guilty to Co'unt One of the hidictment, which charges the
Det`endant with possession with conspiracy to distribute controlled Substances, in violation of 21
U.S.C. § 846. The Defendant admits that the Defendant is, in fact, guilty of the offense and will
So advise the Court.

Elements ofthe Offense
2. The elements of the offense to which the Defendant has agreed to plead guilty, and which

this Ot`fice Would prove if the case went to trial, are as follows: That on or about the time alleged
in the Indictment, in the District of Maryland:

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a. an agreement existed between two or more persons to violate the drug laws of
the Umted States by distributing or possessing with the intent to distribute
cocaine, cocaine base, heroin, and fentanyl;

b. that the lDefenclant was a party to, or member of, that agreement;

c. that it was foreseeable to the Defendant that the conspiracy would distribute
500 grams or more ofcocaine; and '

d. the Defendant knowingly entered into that agreement.

 

 

 

 

 

 

 

 

 

 

 

Penalties
3. The maximum penalties provided by statute for the offense(s) to which the Defendant is
pleading guilty are as follows:
COUN'I` STATUTE MAND. MIN. MAX MAX MAX PINE SPECIAL
IMPRISON- IMPRISON- SUPERVISED l ASSESS-
MENT MEN'I` RELEASE ' MENT
j__,z’ 21 U.s.C. s years ' 40 years 4 years $5,000,000 $100
§ 846
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons has sole
discretion to designate the institution at which it will be served.
b. Supervised Release: lf the Court orders a term of supervised release, and the

Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment up to the entire original term of supervised
release if permitted by statute, followed by an additional term of supervised release.

c. Restitution: The Court may order the Defendant to pay restitution pursuant to 18
U._S.C. §§ 3663, 3663A, and 3664.

d». Payment: If a fine or restitution is imposed, it shall be payable immediately, unless
the Court orders otherwise under 18 U.S.C. § 3572(d). ’I'he Defendant may be required to pay
interest if the fine is not paid when due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly traceable
to the offense, substitute assets, andlor a money judgment equal to the value of the property subject
to forfeitureh

f. Collection of Debts: If the Court imposes a fine or restitution, this OH'ice's
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: {l) the full amount of the fine or restitution is

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nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and `not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Oflice to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Oftice.

Waiver of Rigl_its

4. The Defendant understands that by entering into this Agreement, the Defendant surrenders
certain rights as outlined below: '

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of j urors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the government would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to confront
and cross-examine the goverrunent’s witnesses The Defendant would not have to present any
defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to
attend.

d. The Defendant would have the right to testify in the Defendant’s own defense if
the Defendant so chose, and the Defendant would have the right to reliase to testify. If the
Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

e. If the Defendant were found guilty alter a trial, the Defendant would have the right
to appeal the verdict and the Court‘s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges. By

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pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court’s
decisions. '

f. By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court’s questions both about the rights being given up and about the facts of the
case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statement

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be giving up
the right to file and have the Court rule on pretrial motions, and there will be no further trial or
proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable civil
rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences .

AdvisorLSentencing Guidelines Annly

5. The Defendant understands that the Court will determine a sentencing guidelines range for
this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform Act of
1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(l) and 3742(¢)) and 28 U.S.C.
§§ 991 throuin 998. The Defendant further understands that the Court will impose a sentence
pursuant to the Sentencing Ref`orm Act, as excised, and must take into account the advisory
guidelines range in establishing a reasonable sentence

Factual and Advisog Guidelines Stipulatiog

6. a. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Of’fice and the Defendant further
agree that the applicable base offense level is a level 26 pursuant to United Statcs Sentencing
Guidelines (“U.S.S.G.”) § 2Dl .l(c)(?) because the offense involved between 2 kilograms and 3.5
kilograms of cocaine

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b. There is a two-level increase in the Defendant’s offense level pursuant to U.S.S.G.
§ 2D1.1(b)(l) because the Defendant possessed a firearm in connection with the offense

c. This Offlce does not oppose a two-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3El.l(a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3El.l(b) for an additional
one-level reduction in recognition of the Defendant’s timely notification of the Defendant’s
intention to enter a plea of guilty, This Oflice may oppose any adjustment for acceptance of
responsibility under U.S.S.G. § 3E1.l(a) and may decline to make a motion pursuant to U.S.S.G.
§ 3El .l(b), if the Defendant (i) fails to admit each and every item in the factual stipulation; (ii)
denies involvement in the offense; (iii) gives conflicting statements about the Defendant’s
involvement in the offense; (iv) is untruthful with the Court, this Oflice, or the Unitcd States
Probation Oflice; (v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in
any criminal conduct between the date of this Agreement and the date of sentencing; (vii) attempts
to withdraw the plea of guilty; or (viii) violates this Agreement in any way.

7. The parties stipulate and agree that the Defendant’s criminal convictions result in a criminal
history score of eight, establishing a criminal history category of IV. Therefore, the advisory
Guidelines range is 84 to 105 months of imprisonment

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Oinga_rtions of the Parties

9. At the time of sentencing, this Oflice and the Defendant reserve the right to advocate for a
reasonable sentence, period of supervised release, andfor fine considering any appropriate factors
under 18 U.S.C. § 3553(a). This Office and the Defendant reserve the right to bring to the Court’s
attention all information with respect to the Defendant’s background, character, and conduct that
this Office or the Defendant deem relevant to sentencing, including the conduct that is the subject
of any counts of the Indictment. At the time of sentencing, this Office will move to dismiss any
open counts against the Defendant.

Waiver ofA eal

10. ln exchange for the concessions made by this Office and the Defendant in this Agreement,
this Ofl“ice and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any

other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground

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that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s). 1

b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of imprisonment
fine, term of supervised release, or order ofrestitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant’s criminal history,
the weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release), except as follows:

(i) The Defendant reserves the right to appeal any sentence that exceeds the
statutory maximum; and 1

(ii) This Office reserves the right to appeal any sentence below a statutory
minimum.

c. The Defendant waives any and all rights under the Freedom of lnforrnation Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Ofiice or any investigating agency.

Forfeiture

ll. a. The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, andlor a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses

b. The Defendant agrees to consent to the entry of orders of forfeiture for the property
described in the two above subparagraphs and waives the requirements of Federal Rules of
Criminal Procedure ll(b)(l){J), 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment

c. The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture

d. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,

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statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture

Defendant’s Conduct Prior to Sentencing and Breach

12. a. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of j ust'ice under U.S.S.G. § 3Cl .l; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Oiiice, law enforcement agents, and probation oHicers; will
cooperate in the preparation 'of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

b. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Oflice will be free from its obligations under this Agreement; (ii) this Oflice may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule l l(c)(l)(C); and (iii) in any criminal or civil
proceeding, this Offlce will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule ll of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea-even if made pursuant to Rule
l l(c)(l)(C)-if the Court finds that the Defenth breached the Agreement, In that event, neither
the Court nor the Govemment will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule ll(c)( l )(C).

Court Not a PM

13. The Court is note party to this Agreement. The sentence to be imposed is within the sole
discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation in this
Agreement. The Court will determine the facts relevant to sentencing The Court is not required
to accept any recommendation or stipulation of the parties. 'I`he Court has the power to impose a
sentence up to the maximum penalty allowed by law. If the Court makes sentencing findings
different from those stipulated in this Agreement, or if the Court imposes any sentence up to the
maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations under
this Agreement, Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as to what guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

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Entire Agrgment

14. This letter; together with the Sealed Supplement, constitutes the complete plea agreement
in this case. This letter, together with the Sealed Supplement, supersedes any prior understandings
promises, or conditions between this Office and the Defendant There are no other agreements,
promises, undertakings, or understandings between the Defendant and this Offrce other than those
set forth in this letter and the Sealed Supplement. No changes to this Agreement will be effective
unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every tenn and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Robert K. Hur
United States Attomey

By; Wn. %‘HMMAA»
christina A. norman
Peter J. Martinez

Assistant United States Attorneys

l have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attomey. I understand it and l voluntarily agree to it. Specifically, l have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. I am completely satisfied with the representation of my attomey.

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Date Jarnes Hair y

 

I am the Defendant’s attomey. l have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant The Defendant advises me that the
Defendant understands and accepts its tenns. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

`t l l ?,a ll 3
Date Christopher Nieto, Esq.

 

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A'I`TACHMENT A

STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

In late 2016 and early 2017, the Defendant was intercepted during a court-authorized
wiretap investigation led by thc cheral Bureau of Investigat:ion GBI). The target of the '
investigation was Deandre Dorsey, a/kfa “Stunna,” a heroin distributor and member of the Black
Guerilla Family gang (BGF). The Defendant, who was using telephone number (470) 422-6390,
was intercepted in numerous wiretap calls with Dorsey in which they discussed drug trafficking,
firearms, and violence

l For instance, in a wiretap call on Deccmber 26, 2016 at approximately lO:OOp.m., the
Defendant asked Dorsey to supply him with “like two, three Grim Rolls”--coded language for a
quantity of narcotics In a wiretap call on January 18, 2017 at approximately 10:21a.m., Dorsey
told the Defendant he would give him “a live picce”_i.e., five grams of heroin In a wiretap call
on January 18, 201'1r at approximately 11:16p.m., the Defendant asked Dorsey to give him a “six
piece”_i.e., six grams of heroin. In a wiretap call on January 22, 201?, at approximately
10:3'/‘a.m., the Defendant told Dorsey that he had “a guy” who needed “a 28 piece”-r`.e., 28
grams of heroin_and that the same individual had a “4 nickel Ruger that he wants ten for”_r'.e.,
a Ruger firearm that he wanted to exchange for ten grams of heroin. The Defendant also told
Dorsey that drug customers were complaining that they should “stop stepping on it so much”_
f.e., dilluting the purity of the heroin with adulterants.

On February 5, 2017, the FBl seized a cell phone belonging to an associate of the
Defendant’s named Marquise McCants a!k/a “Digga.” The cell phone contained text messages
with phone number (470) 422-6390, which was saved in McCants’ phone as “Mook” (i.e., the
Defendant). ]n a text message exchange on January 30, 2017, the Defendant and McCants
discussed a plot to rob and kill thc Defendant’s cocaine supplier. Specitically, the Defendant
wrote, “tryn think of a master plan bro down to my last couple hundred bro.” McCants replicd,
“Damn fr wat u got in mind.” The Defendant statcd, “This nigga 1 be getting the c from yo we
got to fix him bro.” The Defendant added, “But yo he say he get back straight tomorrow it’s
always no less than 18 and he going let me in bro.” McCants stated, “Ok then we blitz him wipe
him n dip.” The Defendant stated, “Yea u got to be on standby bro.” The Defendant added,
“Bro l’m seriouse bro luck yo bro I got the whole lot lay out.” McCants replied, “I knw yo im
serious to my nigga put yo together im a wipe em guaranteed.” The Defendant replied, “Ard
that’s stamped bro.” `

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On February 5, 2017, at approximately 7:38p.m., an associate of the Defendant’s named
Douglas Brooks Jr. Who Was incarcerated at the Maryland Reception Diagnostic Classification
Center made a recorded jail call to the Defendant on telephone number (470) 422-63 90. During
the ca]l, the Defendant informed Brooks that he had seen “Cliff”-known by investigators to be
Khalil Matthews-»-and had provided a firearm to a friend of theirs named “Marty” because
“Marty” had gotten into a fight with someone. Specifically, the Defendant stated, “I seen Cliff
last night.” Brooks asked, “Where the liick you see him at?” The Defendant responded, “l-lim
and Marty was getting money and he got into it with somebody from the projects He needed
a jimmy mac, so I took him one of the ones I ha .”

Roughly a month later, on March 9, 201?, Khalil Matthews a/k/a “Clifl"’ was shot to
death in the 3400 block of Saratoga Street in Baltimore. In a wiretap call shortly after Matthews’
death, the Defendant and Dorsey talked excitedly about getting revenge for their friend’s murder.
The Defendant stated he was going to “let them bitches have it.” In a subsequent Wiretap call at
approximately 10:00p.m., the Defendant told Dorsey that “Cliff’ (i.e., Matthews) had “a spot"
where he was keeping “tive” or “six of them”_a reference to five or six firearms Dorsey said,
“There’s never supposed to be one person with everything Man, you know better than this. If
something happened to me, 'I`ricky got access to cverything.” The Defendant said, “Yeah, but
listen, he had a spot where he was keeping them at, you feel me, and all I got is Bertha”_a
reference to a particular firearm in the Defendant’s possession Dorsey replied, “We got to get
them back. I’m stressed outright now. We gotta go put some work in, man.” The Defendant
said, “Yeah, we is!” Dorsey asked, “Ahight, well, when, tonight?” The Defendant said, “Yeah,
We going right now! That’s Why we need you to come out.” Later in the call, the Defendant
asked, “Hey bro, yo listen, do you got an extra one for BM here?” Dorsey said, “Do I got a extra
one? What you doing--it don’t matter how many you got; We got one, we golden It’s over.”
The Defendant told Dorsey, “They say two of them niggas hit bro, yo, at the same time.” Dorsey
replied, “Man, I don’t give a fuck if it was all .. .. We ready to go, we ready to go kill them up
there.” The Defendant replied, “Already. That’s what I’m talking about.”

ln a wiretap call on March 14, 2017 at approximately 6:00p.m., the Defendant told
Dorsey that “Yo was out yesterday”_a reference to the individual he believed had killed
Matthews. Dorsey asked, “What happened?” The Defendant explained, “By the time l come all
the way to the castle and get Bertha . . . he jumped in the car.” He added, “Them niggas be out,
bro. We got to Spend that bitch, man.” Dorsey replied, “We gonna spend him. . . . He gonna be
done. . . . He ain’t going to make it to the funeral, I can tell you that.” Later, Dorsey asked, “We
got some vehicles We can move in?” The Defendant replied, “That’s what BM was saying, man.
He was going to heller at you, you and him might gotta go half, grab a little four, five-hundred
dollar.” Dorsey said, “We gotta have vehicles. We have the vehicles . . . just do him dirty.” The
Defendant said, “A nigga be damned if niggas gonna be acting like niggas smoked our man and .
. . shit. That wasn’t just no average homeboy; that’s like, that’s family.” Dorsey said, “Oh yeah,
it’s going to be some souls behind that.” The Defendant said, “I told BM, I know one of them
niggas gonna try to . . . come to that limeral, yo. I’m a ice they ass, bro.” The Defendant added
that he was going to attend Mattliews’ funeral “with that big strap on me”-_a reference to a
firearm Later, the Defendant complained that Matthews’ “baby mother” would not give them

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the six “hammers” (i.e., firearms) that Matthews had stashed at her spot. Dorsey said, “Listen,
shorty, if you ain’t ready to send no bullets in no humans and take no souls man, that’s what we
ready to do." The Defendant said, “Yeah.” Later, the Defendant informed Dorsey that the
person who killed “Cliff” was “quick on his feet” but that “he don’t be strapped outside.”
Dorsey said, “Once l see that bitch, it’s over.” The Defendant said, “l’m talking about whoever
out there, it don’t matter.”

ln a wiretap call at approximately 6: l4p.m. that day, Dorsey said, “'I'hem niggas gonna
get caught wherever they at, bro. The gas station, wherever. . . . All that plotting that shit out_
niggas gonna die, that’s it.” The Defendant replied, “Yeah, bro, that’s wh“at I’m saying.” Dorsey
said, “We need a car, yo, ‘cause if we see him, I’m the type, I’m gonna jump out.” The
Defendant said, “Yeah, I’m with you. Shit.” Later, Dorsey said, “l got to get my pump. He ain’t
gonna have no face, yo. . . . Hc did my man dirty. l can’t stop thinking . . . he getting his face
knocked off. That’s on my kids.” The Defendant replied, “How do you think l feel every day
looking at this picture with me, you, and him? . . . Yeah bro, we got to put on for him, bro, for
real, bro. We got to, yo.” Dorsey said, “We are going to put on for him, bro. . . .No tuming
back. lIt’s getting ugly.”

On April 4, 2017, FBI agents executed a search warrant at the Defendant’s residence at
1303 Greenmount Avenue, Apt. 209, Baltimore, Mary]and. During a search of the residence,
they recovered approximately 189 grams of eocaine, approximately 9 grams of crack cocaine,
and a digital scale with suspected cocaine residue The Defendant possessed the cocaine and
crack cocaine for the purpose of distributing it.

On Novembcr 29, 2017, at the direction of the Washington County Nareotics Task Force,
a confidential informant (“Cl-l”) conducted a controlled purchase of approximately 1.61 grams
of cocaine from the Defendant in Hagerstown, Maryland while wearing an audio-video recording
device. The Defendant was arrested immediately following the controlled purchase A search of
the Defendant’s person incident to his arrest resulted in the recovery of two cell phones.

On March 19, 2018, at the direction of the FBI, a second confidential informant (“CI`-Z”)
met with the Defendant in Baltimore, Maryland while wearing an audio-video recording device.
During the meeting, the Defendant indicated that he was trying to get his phone back from law
enforcement custody because he had been making $8,000 in drug sales per day using the phone.

On April 11, 2018, at the direction of the FBI, CI-Z conducted a controlled purchase of
approximately 13.72 grams of cocaine from the Defendant in Baltirnore, Maryland while
wearing an audio-video recording device. The Defendant brought CI-2 to a residence in Douglas
Homes to obtain the cocaine. Inside the residence, CI-2 was introduced to an unknown associate
of the Defendant’s who was armed with a firearm. The Defendant stated that he liked the
Erearm due to its ability to function without jamming.

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The Defendant admits that he conspired to distribute cocaine, cocaine base, heroin, and
fentanyl, and that it was foreseeable to `him that members of the conspiracy would distribute
between 2 kilograms and 3.5` kilograms of cocaine

SO STIPULATED:

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‘Christ'ina A. Hofi`rnan 4

Assistant:yed States Attorney

james Pfair,

Del`en/d?lt
Christopher Nieto, Esq.:
Counsel for Defendant

